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            , ir:t~t,·\:        FARMINGTON POLICE DEPARTMENT
                      \,;~}')
                                Incident #: F20-05520
                                Reporting Officer: Dane Hanson
                                Report Time: 09/26/2020 19: 18:04


    Incident                        ·

    Agency Assistance           800 W State St; Davis     09/26/2020 19: 18 :04
                                County Sheriff;JAIL
                                FARMINGTON, Utah 84025

    09/26/2020 19:20:03         Lance Jacobs              Telephone

                                Closed Case

    10/05/2020

                                Cleared by Investigator



    Bridgette Brian

    Medic 22

    Tyre! Barney

    Christopt1er Rummel

    Wilbert Terrell

     Cl1ad Nicholls




                ~- ABREU, ANGEL C
                   Subject
     ...
    3457 Harrison Blvd          (727)318-8827              02/21/1996
    OGDEN Utah 84403

    H-Whlte/Latln, Hispanic     M
    'L_,;,Jld
    6'05"                       200


1
    Praperty

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                                                                              INMATE O@Pi'/2,
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                                                                                                       Page 2 of 4

 DVD                                                                                 Evidence

 scene                         photos

                               2                              $0.00

                               $0,00




Narratives                          _
         nal Narrative                                                      10/11/20            12,:31

 Farmington Police Department" Officer Information - Agency Assist

 Officer: D. Hanson

 Time/ Date: 9/26/20@ 19:18

  Location: 800 West State Street (DCSO Jail)

 Involved person(s): Angel Abreu

 Narrative:
 On 9/26/20 at approximately 19: 18 hours, I responded to 800 West State Street, Davis County Sheriffs
 Office (DSCO) (Jail) for an inmate with full body lacerations. Dispatch advised the event occurred in Pod 6
 and that the bleeding was coming from a dangerous area on the inmate's body.

  Arrived at Jail:
  I arrived at tile jail and parked my patrol vehicle in the sally area of the jail intake. When I exited my
  vehicle, I observed that the injured inmate had already been moved to the vehicle sally, waiting for the
  ambulance. I observed that the inmate was moved from the jail stretcher to the ambulance stretcher, and
  was placed into the ambulance to be transported to Davis Hospital. Sergeant Baer advised that inmate
  Angel Abreu had barricaded himself in his cell after illegal drugs were found in his mail. She advised that
  the DCSO crisis team, made entry Into the cell and observed that Angel had multiple lacerations which
  appeared to be self inflicted, on hls al)domen. Sergeant Baer also advised that the DCSO Crime Lab was
  responding to Investigate tl1e Incident, and they also wanted Farmington Detectives to respond.

  1 made contact with Detective Sergeant Johnsen, and advised him of the details which I had up to that
  point. He advised that I should stand by for DCSO Administration to contact l,im directly before
  Farmington Detectives could assist with tt1e investigation. Sergeant Jolrnsen called me approximately five
  minutes later, advising that lie would be on his way to the Jail to assist with the investigation, and asked if
  I could find video footage of the incident for review once he arrived. r returned to the Jail and again made
  contact with Sergeant Baer, who advised that once Sergeant Jotrnsen arrived, that she would escort us to
  the scene, and also provide video footage of the incident.

  Sergeant Johnsen arrived at Jail:
  Sergeant Johnsen arrived at the Jail, and Sergeant Baer escorted both of us to cell 21, in the Quebec unit
  of Pod 6, While Sergeant Johnsen conducted his investigation of tlie cell, I captured video footage of tl1e
  cell and surrounding area with my body mounted camera. Once Sergeant Johnsen had finished examining
  the cell and video footage of the incident, I stood by to record Sergg:ant Johnsen's interview with Angel
  when he returned from the hospital. Once the interview was complete, Myself and Sergeant Johnsen left
  the scene without further involvement.

  Body camera footage has been submitted per department procedure.



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 Disposition: Active referred to detectives.




 Supplemental Narrative 09/28/2020 12:13:45                                     Erie Johnsen

 Farmington Police Department· Supplemental Report

 Officer: Sgt. E. Johnsen


 Nature of original incident: General Investigation (Davis County Jail)


 Narrative:
 At about 1930 hours on Sunday, September 27, 2020 I was contacted by Officer Hanson. He said he was
 responding to the jail on an incident Involving an inmate suffering lacerations to tl"1e abdomen that
 required him to be transported to the hospital.

 I responded to the jail to assist in tl1e investigation along with the Davis County Crime Lab (Deputy
 Nicholas). Upon arriving in the sally port I observed a gurney with jail clothing tl,at appeared to have
 been cut off of someone. I later learned this was the clothing of the inmate that was transported to Davis
 Hospital. I was told the inmate involved in this incident was Angel Abreu (DOB 2/21/96). It was reported
 that Abreu had an issue with receiving contraband in the mail and consequently was being moved to a
 different housing unit; this led to hirn begin to act out which included flooding his cell. This gave cause for
 tl,e jail's cell extraction team to be called in to complete tt1e inmate move.

 Once in the jail I was esco1·ted by Sergeant Baer to the QUEBEC unit. I was advised the scene was messy
 so we were given trash bags to tie around our shoes.

  Upon entering the housing unit I took note that all inmates were secured in their respective cells. Deputy
  Nicholas photographed the area outside of cell 21. On the floor outside of the cell I observed water,
  miscellaneous papers, wrappers, and tuna fish. The cell door window had been covered up by a towel. I
  was told the inmate had done this prior to the cell extraction.

  After the area outside of the cell had been photographed the cell door was opened. I immediately noticed
  the floor of the cell had been flooded, there was more tuna and trast1 floating in the water and tuna had
  been splattered on the walls, ceiling, and door of the cell. Toilet paper l1ad been soaked in water and
  thrown against the walls of the cell. I noticed on the cell wall there were tl1e words written "FUCI< THE
  POLICE". We believed it was written with peanut butter.

  There was not a large amount of blood anywhere in tl1e cell. The only two locations that were notable was
  a partial hand print on the wall next to the inmate's bunk and a noticeable amount on the bedding of the
  lower bunk. These areas were photographed.

  The bedding area of the cell was relatively undisturbed. The bottom bunk appeared to be used for
  sleeping and the top bunk seemed to be used for storage of personal items. After the cell was
  photographed I entered and began to more closely examine the contents of the cell. I was Initially told
  that the inmate had lacerated himself with a razor. During the search of the cell I was unable find a razor.
  Tl1e only item I was able to locate in the cell were two pencils that were on the outside of the cell door
  amongst the tuna and other debris.


  **REVIEW OF EXTRACTION TEAM VIDEO**
  After completing our investigation of the cell I was able to observe the video footage of the cell extraction
  team. During the video there were two moments of interest; 1) upon entering the cell the inmate is
  standing facing the team, as the team makes contact tl1e Inmate turns to l1is right and places his rigt1t
  hand on the wall in wl1at appears to be the exact location of the bloody hand print that was photographed.
  All extraction team members had gloves on. This can be viewed starting the video at about 0:00:26 of
  the extract team video. At 0:02:28 of the same video, while the team is atten-ipting to secure and remove

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 the inmate from the cell the bloody hand print can be seen on the wall. 2) While the inmate is on the
 gurney being moved to the ambulance he Is asked by one of tl,e team members asks "hey what did you
 cut your stomach with" (0:04:40) and the inmate responds," ... I don't know ... " he then complains about
 his ankle hurting and asks that the team member on top of him reposition. The inmate is again asked
 what he cut himself with, and he 1·esponds, " ... you stabbed rne mother fucker ... " (0:04:58).

  Once the inmate is taken to the sally port he is medically evaluated and transported by ambulance to
  Davis Hospital.


  ** INTERVIEW WITH SUBJECT**
  The subject returned from the hospital after being treated for superficial wounds to his abdomen. Upon
  his return Deputy Nichols photograpl1ed his injuries. I was able to observe the subjects abdomen area
  and see that he had several scratch marks around and area that had been bandaged by the hospital. The
  visible scratches did not appear to be from a razor blade. The subject was moved to the intake area. I
  intrnduced myself and told him I was conducting a general investigation regarding the incident that
  occurred. He responded, "wl1at incident?" I again explained I wanted him to tell me what happened. He
  said he didn't want to talk without his lawyer. I explained that I was not questioning him about anything
  criminal. He again said he didn't want to talk without his lawyer. I ended any attempt to talk witl1 him
  further and he was taken to a secure cell.

  ** SUMMARY**
  Based on the examination of events, video footage, photographs, and evidence; it is my opinion that
  injuries the subject sustained were self-inflicted prior to the entry of the extraction team. It is unclear
  what the subject used to cause his injuries.

  Due to the circumstances FPD will conclude the investigation.

  Electronically attached to this report are the correction officers incident reports and all photo and video
  evidence will be burned to DVD and booked into evidence.

  EORhej.


  Disposition: Closed




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